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                                   7                                   UNITED STATES DISTRICT COURT

                                   8                                  NORTHERN DISTRICT OF CALIFORNIA

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                                           STATE OF CALIFORNIA, et al.,
                                  10                                                        Case No. 20-cv-03005-RS
                                                        Plaintiffs,
                                  11
                                                 v.                                         ORDER DENYING MOTIONS TO
                                  12                                                        INTERVENE
Northern District of California
 United States District Court




                                           ANDREW WHEELER, et al.,
                                  13
                                                        Defendants.
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                                  16           Pursuant to Civil Local Rule 7-1(b), the motions of Chantell Sackett and Michael Sackett

                                  17   (Dkt. No. 45) and the proposed “Business Intervenors”1 (Dkt. No. 43) for leave to intervene in this

                                  18   action have been submitted without oral argument. The motions will be denied.

                                  19           The Sacketts own real property in Idaho that they contend is impacted by the regulatory

                                  20   definition of “waters of the United States” at issue in this case. The proposed Business Intervenors

                                  21   assert the definition affects their operations and economic interests in various substantial ways.

                                  22   Both the Sacketts and the proposed Business Intervenors support the new rule that the government

                                  23   is defending in this case, although they each contend they have some slightly different or

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                                  25    The proposed “Business Intervenors” are the American Farm Bureau Federation, the American
                                       Petroleum Institute, the American Road and Transportation Builders Association, the Chamber of
                                  26   Commerce of the United States of America, Edison Electric Institute, Leading Builders of
                                       America, the National Alliance of Forest Owners, the National Association of Home Builders, the
                                  27   National Cattlemen’s Beef Association, the National Corn Growers Association, the National
                                       Mining Association, the National Pork Producers Council, the National Stone, Sand, and Gravel
                                  28   Association, the Public Lands Council, and the U.S. Poultry & Egg Association.
                                   1   additional arguments and perspectives to present. Insisting that the government will not be able to

                                   2   represent their interests adequately, the proposed intervenors seek intervention as a matter of right,

                                   3   or in the alternative, permissive intervention.

                                   4           Federal Rule of Civil Procedure 24(a) provides for intervention as a matter of right.

                                   5   Fed.R.Civ.P. 24(a). The Ninth Circuit has articulated four requirements:

                                   6                   (1) [T]he [applicant’s] motion must be timely; (2) the applicant must
                                   7                   have a “significantly protectable” interest relating to the property or
                                                       transaction which is the subject of the action; (3) the applicant must
                                   8                   be so situated that the disposition of the action may as a practical
                                                       matter impair or impede its ability to protect that interest; and (4) the
                                   9                   applicant’s interest must be inadequately represented by the parties
                                                       to the action.
                                  10

                                  11   Freedom from Religion Found. v. Geithner, 644 F.3d 836, 841 (9th Cir. 2011) (quoting California

                                  12   ex rel. Lockyer v. United States, 450 F.3d 436, 440 (9th Cir. 2006)).
Northern District of California
 United States District Court




                                  13           Here, the motions to intervene were timely, and the moving parties all likely have

                                  14   significantly protectable interests at stake. A final ruling in this case as to the legality or illegality

                                  15   of the new rule may not leave the moving parties completely without recourse—for instance,

                                  16   determinations specific to their various properties might remain to be made—but as a practical

                                  17   matter a ruling in plaintiffs’ favor likely would impair the moving parties’ ability to protect their

                                  18   interests.

                                  19           In the particular context of this APA case, however, there is no reason to conclude the

                                  20   moving parties’ interests will be inadequately represented. The matter will be adjudicated on the

                                  21   administrative record. Absent an exception to the general rule, there will be no discovery. This is

                                  22   not a situation where there will be protracted litigation, with numerous opportunities to make

                                  23   differing strategic decisions that shape the ultimate course of the case or the arguments and

                                  24   evidence that will be available. Rather, the case presumably will be decided on cross-motions for

                                  25   “summary judgment,” which likely will merely amplify the arguments presented in the

                                  26   preliminary injunction proceedings, but without the additional issue of “irreparable harm.”

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                                  28                                                                         ORDER DENYING MOTION TO INTERVENE
                                                                                                                     CASE NO. 20-cv-03005-RS
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                                   1          The moving parties will be permitted to contribute to that process by submitting amicus

                                   2   briefs, as they did at the time of the motion for a preliminary injunction. Indeed, the parties are

                                   3   hereby instructed to include the moving parties when negotiating briefing schedules on the merits,

                                   4   so that there is an adequate opportunity for their amicus briefs to be filed, and responded to.

                                   5   Although the Court does not anticipate entertaining oral argument from any amicus curiae at the

                                   6   time of the hearing on the merits, if one of these moving parties believes it must be heard, it can

                                   7   make such a request in its amicus brief, which will be evaluated at that time.

                                   8          Accordingly, the Sacketts and the proposed Business Intervenors have not shown their

                                   9   interests will be inadequately represented absent intervention as of right. Permissive intervention

                                  10   is unwarranted for the same reasons. The motions are denied.2

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                                  12   IT IS SO ORDERED.
Northern District of California
 United States District Court




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                                  15   Dated: August 13, 2020

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                                                                                         RICHARD SEEBORG
                                  17                                                     United States District Judge
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                                         In a parallel action pending in the District of Colorado, motions to intervene by these same
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                                       parties were granted. That case, however, stands in a different procedural posture, as a preliminary
                                  27   injunction was granted, and the motions to intervene were unopposed.

                                  28                                                                      ORDER DENYING MOTION TO INTERVENE
                                                                                                                  CASE NO. 20-cv-03005-RS
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